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_ EXHIBIT “A”
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF PENNSYLVANIA

IN RE: : CHAPTER 7
CAMPISI CONSTRUCTION, INC.

DEBTOR : BKY. NO. 14-12458JKF

STIPULATION AND CONSENT ORDER OF SETTLEMENT BETWEEN THE
CHAPTER 7 TRUSTEE, CREDITOR ECI, LLC AND CREDITOR COUGAR
DEVELOPMENT GROUP, LLC

in Wn

AND NOW, this a T day of January, 2016, it is hereby stipulated and agreed
between the parties hereto, Terry Dershaw, Chapter 7 Trustee (Trustee) on behalf of debtor,
Campisi Construction, Inc., (Debtor), ECI, LLC, (ECI or Creditor) through its sole member,
David J. Spause and Cougar Development Group, LLC (Cougar) through its sole member, David
J. Spause that they have reached a settlement in regard to ECI’s Secured Proof of Claim, Claim
#7, ECI’s Unsecured Proof of Claim #8, ECI’s Unsecured Proof of Claim #11 and Cougar’s
Unsecured Proof of Claim #9 against Debtor. The aforementioned Proof of Claims are

incorporated hereto and made part hereof as if fully set forth within this Stipulation.

1. On March 31, 2014 (the “Petition Date”), Campisi Construction, Inc., the Debtor and
debtor-in-possession (the “Debtor”), filed a voluntary petition for relief under chapter 11 of title

11 of the United States Code, 11 U.S.C. §101 et seq. (the "Bankruptcy Code").

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2. Said Chapter 11 was subsequently converted to Chapter 7 by the Honorable Jean K.
FitzSimon.

3. Terry Dershaw was appointed the Chapter 7 Trustee.

4, ECI’s Secured Proof of Claim, Claim #7, is a direct result of a final unappealed State
Court confirmed arbitration award which was entered by the State Court as a final judgment
against the Debtor (“State Court Judgment”), on August 20, 2013 in the amount of
$174,047.35, plus $52.71 in daily post-judgment interest (“ECI Judgment”), in the Court of
Common Pleas of Montgomery County, Pennsylvania (“State Court”), Docket No. 2011-12517.
A copy of the Order confirming arbitration award and entering judgment has been attached as
Exhibit “A” and incorporated by reference.

5. Subsequently, on August 28, 2013, ECI, LLC (“ECI”) obtained a final judgment on the
Debtor in the State of New Jersey under Judgment Number is DJ 169407-13. A copy of the
Judgment Index has been attached as Exhibit “B” and incorporated by reference.

6. On September 12, 2013, ECI filed a Writ of Execution with the Burlington County
Sheriff’s Office to be served on Lukoil North America, LLC (Lukoil), levying a portion of
Debtor’s accounts receivables.

7. On September 20, 2013, (the “Levy Date”), more than six months prior to the Petition
Date, the Burlington County Sheriff’s Office served the Writ of Execution upon Lukoil in an
amount not to exceed $179,625.92 (“Lukoil Levy”), levying cash-equivalent assets not to
exceed that amount, namely the monies due Debtor (“Lukoil Accounts Receivables”). This
levy was confirmed by the Burlington County Sheriff’s Department by way of a Levy Report

attached as Exhibit “C.”

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8. The parties hereto, upon consultation with their respective counsel, hereby agree to the
following terms and condition:
a. Creditor had levied the Cornerstone Funds in regard to a secured judgment it has obtained
against Anthony G. Campisi more than 90 days prior to Petition Date.
b. Creditor, for purposes of compromise and settlement with respect to the Cornerstone
- Funds, is willing to have part of the Cornerstone Funds recovery paid to the Debtor’s estate,
as reimbursement for the Debtor’s Capitalization of Anthony Campisi’s interest in
Cornerstone, as follows:

i, The Trustee and the Creditor shall share in the Cornerstone funds as follows:
Creditor shall receive 75% of the funds collected and the Debtor’s estate: shall receive
25% of the funds collected. Notwithstanding the aforementioned, any and all funds
collected for interest, cost, expenses or attorney’s fees are to be kept by ECI and are not
to be credited towards or will otherwise reduce the amount due under the Secured
Claim.

ii. In consideration of the foregoing, the Trustee hereby agrees to withdraw Debtor’s
Motion for Sanctions for the violation of the Automatic Stay with respect to Creditor’s
attempt to the collection of the Cornerstone Funds through garnishment. Creditor denies
any violation of the automatic stay provisions in pursuit of satisfaction of the judgment he
has against either Debtor or Anthony Campisi.

iii. The Trustee further agrees to terminate, discontinue and end without prejudice
Adversary Action 2014-00616 JKF, filed by Debtor against Cornerstone and Creditor.
c. Creditor has also asserted entitlement to Lukoil funds through a perfected levy which was

served upon Lukoil more than 90 days prior to the Petition Date.

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d. Trustee and Creditor agree that the Lukoil funds shall be shared between them with 60%
of said recovery paid to Creditor and 40% paid to the Debtor’s Estate, whether said funds
are obtained through settlement, Court order, Court approved garnishment, or any other
means.

e. In consideration for this split of the Lukoil funds and in light of the fact that New Jersey
law is clear that the Lukoil funds, since properly levied, are not part of the bankruptcy
estate, as a settlement, the Trustee consents to the granting of the Motion of ECI, LLC, for
Order For Relief From The Automatic Stay For Cause Under 11 U.S.C. §362(D)(1) and will
join with Creditor in seeking the Court’s approval of said Motion.

f. Trustee shall assist Creditor in pursuit of said Lukoil levied funds.

g. Any funds which Creditor is able to recover as a result of a Levy or Garnishment
Violation will be credited towards the secured judgment amount once costs, expenses and
reasonable attorney’s fees are deducted for the collection and adjudication of said funds.
Once the secured judgment plus, if applicable all accruing interest, is satisfied, any
additional funds (Excess Funds) will be distributed 100% to the Estate as replacement funds
for the Lukoil funds received by the Creditor, which amount shall not exceed the amount
recovered from Lukoil.

h. In consideration of all of the foregoing, the Trustee agrees to withdraw with prejudice
any and all of Debtor’s objections to and hereby stipulates to and agrees that the following
Proof of Claims are consented to and this Court hereby approves the following claims of
ECL Proof of Claim #7, Proof of Claim #8, Proof of Claim #11; and, Cougar’s Proof of

Claim #9.

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i. In consideration of all of the foregoing, the Trustee agrees to withdraw, with prejudice,
any and all of Debtor’s objections to Cougar’s Proof of Claim #9 and hereby stipulates to
and agrees that Proof of Claim #9 is consented to and this Court hereby approves Proof of
Claim #9.

j. In consideration for all the foregoing and further acknowledging the lack of legal basis
for the action set forth below, the Trustee agrees to terminate, end and discontinue, with
prejudice the following action filed by the Debtor in the Court of Common Pleas,
Montgomery County, Pennsylvania, Docket #: 2013-30024.

k. In the event it is determined that any other actions, known or unknown, arise against the
Debtor or an entity determined to be an alter ego of Debtor, the Trustee and Creditor shall
jointly pursue the same and any recovery shall be equally shared between Creditor, up to the
amount of his secured judgment, and Trustee.

1. Further, it is understood and agreed that this Settlement shal] not have any adverse effect,
be deemed a release or in any other way bar or prohibit Creditor or Cougar or any of their
members or any other party hereto from pursing Anthony G. Campisi personally for any
judgment, deficiency claims, existing claims, future claims, known or unknown, in a court
of competent jurisdiction.

m. Any and all monies or funds recovered, received by or paid in to the Estate shall not
reduce or otherwise be credited to any of ECI’s or Cougar’s claims and shall not reduce the
amount due and owing in those claims.

n. The parties hereto intend this Stipulation and Consent Order and its findings to be

binding in any and all future actions or suits in a court of competent jurisdiction.

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9. The Court shall retain jurisdiction to hear any matters ot disputes arising from or relating
to this Stipulation.
10. . The terms and conditions of this Stipulation shall be immediately effective and

enforceable upon its entry.
le Notwithstanding the possible applicability of any Federal Rule of - Bankruptcy Procedure,

‘the terms and conditions of this Stipulation shall be immediately effective and enforceable upon

its entry.

at NSLS
Edward J.\DiDonato
Counsel tq Trustee -—

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IN THE COURT OF COMMON PLEAS OF MONTGOMERY COUNTY, PENNSYLVANIA
CIVIL ACTION - LAW

Bohmueller Law Offices, P.C.

By: Barry O. Bohmueller
Identification No. 79901

29 Mainland Road—Mainland Village

Harleysville, PA 19438 Attorney for Petitioner
(215) 256-6440 ECI, LLC
ECI, LLC : COURT OF COMMON PLEAS
: MONTGOMERY COUNTY, PA
Plaintiff : :
v. ; NO. 2011-12517
CAMPIS!I CONSTRUCTION, INC. ; ARBITRATION AWARD
” ERE
ANTHONY G. CAMPISI ry 2011-12517-0013
‘ 8/14/2013 a 143: 2 ar
Defendants Mark Lan ecnics 31 an Fee $0.00 an

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ORDER

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AND NOW, this ff 3 day of Burg. , 2013, upon consideration of the

PETITION TO CONFIRM ARBITRATION AWARD AND ENTER JUDGMENT, and

any Answer thereto, it is hereby ORDERED, ADJUDGED and DECREED that the Arbitration
Award entered on Septemiber 12, 2102, by the Arbitrator David’ M, DeClement, Esquire, is
hereby CONFIRMED, and the Prothonotary is hereby directed to ENTER A MONEY
JUDGMENT in favor of Petitioner ECI, LLC and against Respondents CAMPISI
CONSTRUCTION, INC, and ANTHONY G. CAMPISI (persenally), jointly and severally,

in the amount of $174,047.35 as of May 31, 2013, plus $52.71 in interest for each day through

the date of entry of judgment.
i BY TH/COURT:
CA’ @ \ Bob one, fen, bog
i Counsel for moving party is responsible C

to serve counsel forall other parties and
all unrepresented parties with a copy of
this order and shall file a certificate of
service with the Prothonotary.

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Name | Judgment # Docket #

Judgment Public Search Demo Videos

Judgment Number: DJ 169407 13- ECI LLC VS CAMPISI CONSTRUCTION

Filing Location: MERCER Court: NON
Court Costs: $0.00 Interest: $0.00
Judgment Enter Date: 08/28/2013 Time: 2:52PM

Judgment Status: Open
Attorney Fee: $0.00
Judgment Filing Date: 08/13/2013

Status Date: 08/28/2013
Other Amount: $0.00

Judgment Amount: $174047.35
Processing Location:

Party/Debt Summary

Debt ID: 1

Debt Status:Open Debt Amount: $174047.35

Attorney Fee: $0.00

Cost: $0.00

Interest: $0.00

Other Amount: $0.00

Debt Enter Date: 08/28/2013

Name(Last, First MD Role Alternate Names Party Debt Status Status Date
CAMPISI , ANTHONY G DEBTOR Open 08/28/2013
CAMPIS| CONSTRUCTION, INC DEBTOR Open 08/28/2013
ECLLLC . CREDITOR Open 08/28/2013

Document Summary

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Document Type

WRIT EXEC ISSUED

Document File Date

09/12/2013

Document Status

Party Name (Party Doc Role)
ECI LLC , (P)

CAMPIS! CONSTRUCTION INC , (T)

CAMPISI ANTHONY G, (T)

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Burlington County Sheriff's Office
49 Rancocas Road, Room 210
Mt. Holly, NJ 08060
Fax No. (609) 265-5767

Phone No. (609) 265-5841/5295

ECI, LLC SUPERIOR COURT OF NEW JERSEY
LAW DIVISION
= . MERCER COUNTY |
CAMPISI CONSTRUCTION, INC. AND ANTHONY C. CAMPISI -

DOCKET NO. DJ-169407-13
SHERIFF NO. 13003209

LEVY REPORT

To: CAMPIS] CONSTRUCTION, INC. AND ANTHONY C. CAMPISI, designated defendant:
The Writ of Execution was served on TATYANA ROVILKIN, RETAIL OPERATIONS COORDINATOR at 302 HARPER DRIVE

SUITE 303 MOORESTOWN, NJ 08057 for LUKOIL NORTH AMERICA on the 20th of September 2013 at 11:28
AMLEVYING ON MONIES DUE.

Officer’s Notes: Levied upon cash-equivalent assets that are due and owing by serving the above named person and
mailing the notice to debtor.

Attempts made:

Jean E, Stanfield, Sheriff of Burlington County

S/O ARTHUR PULCINELLA

Dated: 9/23/2013

Attorney/person who ordered this levy is: BARRY O. BOHMUELLER, ESQUIRE
Attorney Case No:

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SUPERIOR COURT OF NEW JERSEY
ECI, LLC LAW DIVISION, SPECIAL CIVIL PART .
. MERCER COUNTY

CAMPISI CONSTRUCTION, INC. AND D ANTHONY C. : Docket No. DJ-169407-13
CAMPISI Sheriff's No. 13003209

NOTICE TO DEBTOR

To: CAMPISI CONSTRUCTION, INC. AND ANTHONY C. CAMPISI, designated
defendant:

An attempt has been made to levy upon your asset, in an amount not'to exceed $ 179.625:92 at
the instruction of: BARRY O. BOHMUELLER, ESQUIRE to satisfy in whole or in part the
judgment against you in the above matter. If you are an individual rather than a business entity,
some property may be exempt from execution by Federal and State law, including but not
limited to clothing and a-total of $1,000.00 of cash and personal property, except for goods
purchased as part of the transaction which led to the judgment in this case. In addition, welfare,
social security, S.S.1. benefits, V.A. benefits, unemployment benefits, workers ’ compensation
benefits, and child support you receive are exempt, even if the funds have been deposited in a
bank account. If any funds belong a joint owner an objection to the levy can be filed to release
the funds not owned by the debtor from the levy.

If the levy is against.an account at a bank listed below, the bank has already beén notified to’
place a hold on your account you may have at that bank. However, the funds will not be taken
from your account until the court so orders. If you are entitled to an exemption as an individual,
you may claim your exemption by notifying the clerk of the court and the person who ordered
this levy of your reasons why your property is exempt. This claim must be in writing and if it is
not mailed within 10 days of service of this notice, your property is subject to further
proceedings for execution. The address for the Court is; MERCER COUNTY 209 S, BROAD
STREET PO BOX 8068 TRENTON, NJ 08650. If this judgment has resulted from a default,
you may have the right to have this default judgment vacated by making an appropriate motion
to the court. Contact an attorney or the clerk of the court for information on making such a
motion, or, for forms and instructions, go to:

www judiciary.state.nj.us/prose/10543_motion_spcevl.pdf.

A Writ of Execution has been served on the following:
LUKOIL NORTH AMERICA

302 HARPER DRIVE SUITE 303

MOORESTOWN, NJ 08057

The name and address of the person who ordered this levy is:
BARRY O. BOHMUELLER, ESQUIRE

29 MAIN STREET

MAINLAND VILLAGE

HARLEYSVILLE, PA 19438

CERTIFICATION OF SERVICE
I mailed a copy of this notice to the defendant(s) and the person who requested the levy on 20th of
September 2013, the same day this levy was made or the execution was served on a bank. I certify that the
foregoing statements made by me are true. 1 am aware that if the foregoing statements made by me are

willfully false, 1 am subject to punishment. —
Date: 9/20/2013 hihi ee

S/O ARTHUR PULCINELLA of Burlington County

Revised 09/04/2012, CN 10821-English (Appendix V1) _
